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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      NORFOLK DIVISION



 UNITED STATES OF AMERICA,

         V.                                                    CRIMINAL NO.2:I2crl84


 ROBERT PATRICK HOFFMAN,II,

         Petitioner.



                                     OPINION AND ORDER


         This matter comes before the Court on the Government's "Response to Defendant's

 Motion for Return of Seized Property" ("Response"), EOF No. 233, in which the Government

 sets forth its position on the method for returning certain of Petitioner's items as set forth in the

 Court's Order entered November 14, 2018,ECF No. 228.

    I.        PROCEDURAL HISTORY AND FACTUAL BACKGROUND

         On May 8, 2013, Petitioner was named in a one-count Superseding Indictment charging

 him with Attempted Espionage, in violation of 18 U.S.C. § 794(a). ECF No. 50. On August 21,

 2013, after a five-day trial, a jury unanimously found Petitioner guilty, beyond a reasonable

 doubt, of Count One of the Superseding Indictment. ECF No. 118. On November 25, 2013, the

 Court entered a Consent Order of Forfeiture signed by Petitioner, listing numerous electronic

 items to be forfeited pursuant to 18 U.S.C. § 794(d)("Consent Order"). ECF No. 128.

         On February 10, 2014, the undersigned sentenced Petitioner to 360 months of

 imprisonment. ECF No. 142. Petitioner appealed his sentence and on May 5, 2015, the Fourth

 Circuit affirmed this Court's Judgment. United States v. Hoffinan. 612 Fed. App'x 162 (4th Cir.

 2015)(opinion docketed as amended at ECF No. 194). On June 30, 2016, the clerk docketed

 Petitioner's Motion to Vacate Under 18 U.S.C. § 2255 ("2255 Motion"). ECF No. 203. On

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 February 16,2018, the court denied Petitioner's 2255 Motion. ECF No. 215. Petitioner's Notice

 of Appeal regarding this decision to the Fourth Circuit was filed on May 1, 2018. ECF No. 219.

 The Fourth Circuit dismissed Petitioner's Appeal on September 27, 2018. ECF No. 226.

        On June 6, 2017, Petitioner filed a Motion for Return of Seized Property ("Motion").

 ECF No. 208. The United States filed its Response on August 4, 2017("Response to Motion").

 ECF No. 211. Petitioner filed his Reply to Government's Response in Opposition to the Retum

 of Seized Property on August 21, 2017 ("Reply"). ECF No. 212. On November 14, 2018, the

 Court denied Petitioner's Motion in part and granted Petitioner's motion as to the items listed in

 section IV.A. of such Order. ECF No. 228 at 4, 8. However, before ordering the retum of the

 items listed in section IV.A the Court's Order, Id at 4, the Court ordered the Govemment to

 submit a memorandum outlining its position regarding the method for sending such items to a

 location in Buffalo, New York where Petitioner's mother could pick them up and execute a

 receipt for such items. Id at 4-5, 8.

        In the instant Response, the Govemment indicates that the FBI has already retumed

 certain items listed in section IV.A of the Court's November 14, 2018 Order, for which

 Petitioner's mother has signed a receipt. ECF No. 233 at 1-2. Regarding the property in section

 IV.A which has not yet been retumed, the Govemment notes that it "has conferred with the two

 agencies holding the property in question, the Federal Bureau of Investigation and the Navy."

 Id at 1. The Govemment sets forth a proposed method for delivery as follows:

        The FBI indicates that the Navy may transfer the property it is holding to the FBI
        and the FBI will send that property to its Buffalo, New York Office. The Navy is
        likewise agreeable to such an arrangement. Once the property is at the FBI office
        in Buffalo, it will be available for the defendant's mother to pickup. As the Court
        noted in its November 14 Order, the FBI will require the defendant's mother to
        sign a receipt for the items.

 Id.
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        The Court hereby FINDS such delivery method acceptable and ORDERS the

 Government to return all items listed in section IV.A of the Court's November 14, 2018 Order,

 ECF No. 228 at 4, which have not yet been returned in the manner set forth herein within sixty

 (60) days from the issuance of this Order.

        The Clerk is DIRECTED to forward a copy of this Order to Petitioner and all Counsel of

 Record.


        IT IS SO ORDERED.




                                                   UNITED STATES DISTRICT JUDGE

 Norfolk, VA
